Case 2:24-cv-02178-FLA-DFM Document 27 Filed 03/27/24 Page 1 of 1 Page ID #:271



                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                   CASE NUMBER:
Z.B. et al
                                                                                    2:24-cv-02178-FLA-DFM
                                                   PLAINTIFF(S)
                                 v.
Delta Air Lines Inc et al
                                                                    ORDER IN RESPONSE TO NOTICE TO FILER OF
                                                                       DEFICIENCES IN FILED DOCUMENT
                                                DEFENDANT(S) .




In accordance with the Notice to Filer of Deficiencies in Filed Document


REGARDING:

                                                                      Application of Non-Resident Attorney to Appear in a Specific
                  03/26/2024                     22                   Case Pro Hac Vice
          Date Filed                         Document No.             Title of Document



IT IS HEREBY ORDERED:
    ✔        The document is stricken
             The hearing date has been rescheduled to                                         at                 .
             A notice of interested parties shall be filed no later than 5 days from entry of this Order.
             Other:




   Dated:             03/27/2024                                            By:
                                                                                  United States District Judge




G-112B (08/22)                  ORDER IN RESPONSE TO NOTICE TO FILER OF DEFICIENCIES IN FILED DOCUMENT
